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    5         ITED STATES olzAMERICA               )
    6                                              )
                                                   )        2:11-CR-00434-5-LDG-PAL
    7                        Plaintiff,            )
                                                   )        ORDER
    8     .
                                                   )
                                                   )
    9                                              )
          VGHEXIIRussu!
                      $                            )
    10                                             )
                      Defendant.                   )
    11
    12                Beforethiscourtforreview isdefendant'sMotiontoW ithdrawasAttorney(doc.327)
         orTyrone D avis,subm itted by HerbertSachs. The courthaving read and review ed the m otion and
    l3
          ood cause appearing,itis hereby GR AN TED .
    14
                      The individualnam ed below ,having testitied underoath orhaving othenvise
    15
    16 satisfiedthisCourtthathe(l)istinanciallyunableto employ counseland(2)doesnotw ish
    l7 o waive counsel,and,becausethe interestsofjustice so require,theCourttindsthatthe
          efendantisindigent,therefore'
                                      ,
    18
                      IT IS ORD ERED thatD OU GLA SS A ,M ITCH ELL isappointed as counselin place
    19
          fHebertSachsforallfutureproceedings.
    20
                      M r.Sachsshallforward thetileto M r.M itchellforthwith,
    21
                      IT IS FU RTHER ORDERED thatthe Clerk issue subpoenasupon
    22
         oralrequestandsubm ission ofpreparedsubpoenasbytheattorfleysoftheofficeoftheFederal
    23
          ublic D efendant,unless said subpoenasare to be sen'ed outside the State ofN evada. The
    24
    25 ostofprocess,feesand expensesofwitnessesso subpoenaed shallbepaid aswitnesstes)
         subpoenaed on behalfofthe G overnm ent. The Courtissatisfied the individualisunable to
    26
    27 ayfeesandexpensesofsubpoenaedwitnesstes)andtheUnitedStatesM arshalshallprovide
    28 suchwitnesstes)subpoenaedadvaneefundsforthepurposeoftravelwithintheDistrictof
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     Case 2:11-cr-00434-RFB-PAL    Document 356        Filed 12/21/12   Page 2 of 2




 1 evadaand subsistence.A ny subpoenassenred on behalfoftheindividual,thereturnthereon
2 o this Courtshallbe sealed,unlessotherwise ordered.
3               IT IS FURTHER ORDERED thatifcounselforthe individual
4 desiressubpoenasto be senred outside the State ofNevada,further application pursuantto
5 ederalRulesofCriminalProcedure l7(b)shallbemadetotheCourt,beforetheissuanceof
6 said subpoenas.
7               DA TED this21Stday ofDecem ber,2012.
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